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14
15                             UNITED STATES DISTRICT COURT
16                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                               Case No. 3:19-cv-01537-BEN-JLB
18
19                      Plaintiffs,                      DECLARATION OF JOHN W.
                                                         DILLON IN SUPPORT OF
20
          vs.                                            PLAINTIFFS’ OPPOSITION TO
21                                                       DEFENDANTS’ EX PARTE
22 XAVIER BECERRA, in his official                       APPLICATION TO STAY THE
   capacity as Attorney General of                       HEARING AND BRIEFING
23 California, et al.,                                   SCHEDULE ON MOTION FOR
24                                                       PRELIMINARY INJUNCTION [22]
                       Defendants.                       AND MOTION TO DISMISS [16]
25                                                       PENDING RULING ON
26                                                       DEFENDANTS’ MOTION TO STAY
                                                         [25]
27
28


                  Declaration of John W. Dillon In Support of Plaintiffs’ Opposition To Defendants’ Ex Parte Application
                                                                                     (Case No. 3:19-cv-01537-BEN-JLB)
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 1                          DECLARATION OF JOHN W. DILLON
 2   I, John W. Dillon, declare as follows:
 3         1.      I am counsel for Plaintiffs’ James Miller et al., in the above captioned
 4   matter.
 5         2.      I have personal knowledge of the facts stated herein and, if called as a
 6   witness, could and would competently testify to such facts. I make this declaration in
 7   support of Plaintiffs’ Opposition to Defendants’ Ex Parte Application to Stay the
 8   Hearing and Briefing Schedule on Motion for Preliminary Injunction and Motion to
 9   Dismiss Pending Ruling on Motion to Stay.
10         3.      On September 27, 2019, Plaintiffs filed the operative First Amended
11   Complaint for Declaratory and Injunctive Relief. Dkt. 9. On October 25, 2019,
12
     Defendants filed a motion to dismiss certain claims asserted in the First Amended
13
     Complaint under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Dkt. 16.
14
     Defendants’ motion to dismiss was noticed for December 16, 2019. Plaintiffs’ filed
15
     their opposition to Defendants’ motion to dismiss on December 4, 2019. Dkt. 21.
16
           4.      Prior to filing Plaintiffs’ opposition to Defendants’ notice to dismiss,
17
     Plaintiffs informed Defendants’ of their intent to file a motion for preliminary
18
     injunction. Defendants’ counsel indicated that they would like to discuss the briefing
19
     and hearing schedule because it would be difficult to adequately brief their opposition
20
     due to the Christmas and New Years holidays. Because Plaintiffs preliminary
21
     injunction motion was extensive, Plaintiffs filed the Joint Motion for Leave to File
22
     Excess Pages of Briefs Regarding Plaintiff’s Motion for Preliminary Injunction on
23
24   November 19, 2019. Dkt. 17. Defendants were aware of and joined in this motion.

25         5.      This Court subsequently granted Plaintiffs’ Joint Motion to exceed the

26   page limit on November 20, 2019. On that same day, this Court issued a Notice of

27   Change of Hearing regarding Defendants’ Motion to Dismiss to December 18, 2019.
28   Dkt. 19.
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                  Declaration of John W. Dillon In Support of Plaintiffs’ Opposition To Defendants’ Ex Parte Application
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 1         6.      Plaintiffs filed their Opposition to Defendants’ Motion to Dismiss on
 2   December 4, 2019.
 3         7.      On December 6, 2019, Plaintiffs filed their Motion for Preliminary
 4   Injunction and Declaratory Relief. The Court provided Plaintiffs with the January 16,
 5   2020 hearing date for this motion.
 6         8.      On December 9, 2019, Defendants’ counsel initiated contact to extend
 7   the briefing and hearing schedule of both Plaintiffs’ preliminary injunction motion and
 8   Defendants’ motion to dismiss. Plaintiffs’ agreed to extend both briefing and hearing
 9   schedules to January 30, 2020. The draft joint motion and stipulation went through
10   several revisions before filing. Attached hereto as Exhibit 1 are true and correct copies
11   of counsels’ email exchanges regarding the joint motion.
12
           9.      On December 10, 2019, this Court issued a Notice changing the hearing
13
     date for Defendants’ motion to dismiss to January 16, 2020. Dkt. 23. On that same day,
14
     Defendants’ counsel verbally indicated that Defendants would also be seeking a
15
     motion to stay the case.
16
           10.     During the time in which parties were revising the joint motion to further
17
     continue the briefing and hearing schedules, Defendants filed their motion to stay
18
     proceedings on December 13, 2019 (Dkt. 25) and informed Plaitniffs’ counsel that they
19
     would seek an ex parte motion to stay the preliminary injunction and motion to dismiss
20
     pending this Court’s ruling on Defendants’ motion to stay.
21
           11.     After finalizing the joint motion, Defendants filed the motion on
22
     December 18, 2019.
23
24         12.     On December 19, 2019, Defendants filed an Ex Parte Motion to Stay

25   Defendants’ motion to dismiss and Plaintiffs preliminary injunction motion.

26         13.     As can be seen in counsels’ correspondence, Plaintiffs’ counsel was not

27   dilatory in the meet and confer process. Plaintiffs entered into good faith discussions to
28   extend the briefing and hearing schedules of the preliminary injunction motion and
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                  Declaration of John W. Dillon In Support of Plaintiffs’ Opposition To Defendants’ Ex Parte Application
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 1   motion to dismiss because of Defendants’ counsel’s concern of work during the
 2   holiday season. Plaintiffs joined in this motion, which was granted.
 3         14.     While finalizing the joint motion (Dkt. 26), Defendants’ counsel wanted
 4   to add language in the joint motion that would indicate Plaintiffs’ consent/agreement to
 5   hearing dates beyond January 30, 2020. Plaintiffs informed Defendants that this was
 6   never agreed to and that the Joint Motion needed to specifically request a date of
 7   January 30, 2020. See Exhibit 1.
 8         15.     Notably, although Defendants counsel indicated that Defendants were
 9   likely to file a motion to stay the case when Plaintiffs first filed their original complaint
10   in August, and again after Plaintiffs filed their first amended complaint in September,
11   Defendants waited until December 13, 2019 to file the motion. This occurred only after
12
     Plaintiffs filed their extensive motion for preliminary injunction motion and after
13
     Plaintiffs filed their opposition to Defendants’ motion to dismiss.
14
            I declare under penalty of perjury that the foregoing is true and correct.
15
     Executed within the United States on December 23, 2019.
16
17
18
                                                       /s/ John W. Dillon
19                                                    John W. Dillon
20
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 5
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 6             Defendants’ counsels
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             EXHIBIT "1"




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